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		OSCN Found Document:RE REVOCATION OF CREDENTIALS OF REGISTERED COURTROOM INTERPRETERS

					

				
  



				
					
					
						
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				RE REVOCATION OF CREDENTIALS OF REGISTERED COURTROOM INTERPRETERS2022 OK 42Decided: 05/02/2022THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2022 OK 42, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

&nbsp;


&nbsp;


RE: Revocation of Credentials of Registered Courtroom Interpreters



ORDER



This Court previously suspended the credentials of several Registered Courtroom Interpreters for failure to comply with the continuing education requirements for calendar year 2021 and/or with the annual credential renewal requirements for 2022. See 2022 OK 20 (SCAD 2022-10, dated March 7, 2022).

Under the applicable rules, a suspended certificate which has not been reinstated on or before April 15 shall be administratively revoked on that date. 20 O.S., Chapter 23, App. II, Rules 18(f) and 20(g). The Oklahoma Board of Examiners of Certified Courtroom Interpreters has advised that the interpreters listed below have not reinstated their credential as required by the rules, and the Board has recommended to this Court the revocation of the credential of each of these interpreters.

This Court hereby approves the Board's recommendation of revocation of each of the Registered Courtroom Interpreters named below, and pursuant to the applicable rules such revocation shall be effective May 2, 2022.


	
		
			
			Claudia Blevins
			
		
		
			
			Lila Garcia
			
		
		
			
			Alejandro Miranda
			
		
		
			
			Tou Yang
			
		
	


DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 2nd day of May, 2022.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR.






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&nbsp;2022 OK 20, RE SUSPENSION OF CREDENTIALS OF CERTIFIED AND REGISTERED COURTROOM INTERPRETERSCited


	
	








				
					
					
				

		
		




	
		
			
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